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                                            #:3227


1    Lenore L. Albert *Suspended Cal State Bar 03-14-2024*
2    1968 S. Coast Hwy #3960
     Laguna Beach, CA 92651
3    Telephone (424)365-0741
4    Email: lenalbert@InteractiveCounsel.com
     Attorney for Plaintiffs, John Roe 1,John Roe 3,
5
     Jane Roe 2, Chad Pratt, and NZ on behalf of
6    themselves and all others similarly situated.
7    IN FEDERAL COURT ONLY
8
9                             UNITED STATES DISTRICT COURT
10                         CENTRAL DISTRICT OF CALIFORNIA
11
12   JOHN ROE 1, an individual; JOHN ROE 3, CASE NO. 22-cv-00983-DFM
     an individual; JANE ROE 2 an individual;
13   CHAD PRATT, an individual, NZ, on        Assigned to the Hon. Douglas F. McCormick
14   behalf of themselves and all others      Complaint filed: 03-18-2022
     similarly situated,
15
                                Plaintiff,            EX PARTE APPLICATION TO
16                                                    ADVANCE THE 05-02-2024 HEARING
     vs.
17                                                    DATE
18   THE STATE BAR OF CALIFORNIA;
     TYLER TECHNOLOGIES, INC.; RICK                   Hearing Date: TBD
19
     RANKIN; and DOES 4 through 10,                   Time: On the papers
20   inclusive,                                       Crtm: 6B – Sixth Floor
21                        Defendants.

22
           TO THE COURT, THE PARTIES AND ALL ATTORNEYS OF RECORD:
23
           PLEASE TAKE NOTICE, John Roe 1, John Roe 3, Jane Roe 2, Chad Pratt, and
24
     NZ will apply for an Order, ex parte, to shorten time on the motion to reopen the case
25
     and vacate orders pursuant to Fed. R. Civ. Proc. Rule 6 and Local Rule 6-1.
26
           The underlying motion is a motion for relief pursuant to Fed. R. Civ. Proc. Rule 60
27
     and the Court’s inherent authority. (Doc. 144).
28
                                                      i
     EX PARTE APPLICATION TO ADVANCE THE 05-02-2024 HEARING DATE
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1          The application will be submitted on the papers to the Honorable Douglas F.
2    McCormick sitting in Courtroom 6B of the United States District Court for the Central
3    District of California located at 411 West Fourth Street, Santa Ana, CA 92701 on
4
     Monday April 8, 2024.
5
           Pursuant to the Local Rules Defendants were given notice by telephone and by
6
     email on Friday April 5, 2024. Defendants are filing their own ex parte application
7
     seeking to extend time and continue the hearing. As such, they oppose.
8
           Pursuant to Local Rule 7-20 a proposed order has been drafted and it being
9
     submitted herewith.
10
           Plaintiff’s counsel is unable to comply with Local Rule 11-3.8(a) because the State
11
12   Bar has ruled that plaintiff’s counsel’s addition of the State Bar Number in federal court

13   – is the Unauthorized Practice of Law. She is trying to get herself out of trouble – not in
14   it. To substantially comply, plaintiff’s counsel’s California State Bar Number is 210876.
15   Her Michigan State Bar Number is P85667. Finally, her U.S. Supreme Court Bar
16   Number is 264066.
17         This application is based on the application, memorandum of points and
18   authorities, Declaration of Lenore Albert, the underlying motion which can be found in
19   the docket Doc. No. 144. The application is also based on the court file, papers and
20   pleadings therein.
21
     Dated: April 8, 2024                       Respectfully Submitted,
22                                              /s/ Lenore Albert______________________
23
                                                LENORE L. ALBERT
                                                Attorney for Plaintiffs, John Roe 1,John Roe 3,
24                                              Jane Roe 2, Chad Pratt, and NZ on behalf of
25                                              themselves and all others similarly situated. ** In
                                                Federal Court ONLY – Suspended by California
26                                              State Bar 03-14-2024 **
27
28
                                                      ii
     EX PARTE APPLICATION TO ADVANCE THE 05-02-2024 HEARING DATE
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1                    MEMORANDUM OF POINTS AND AUTHORITIES
2          I.     Relief Requested:
3          Plaintiffs seek to advance their hearing on the motion to reopen this case and
4    vacate terminating orders which was set for May 2, 2024. Specifically, the underlying
5
     motion for relief seeks an Order to reopen the case; and vacate: (1) the Order denying a
6
     protective order (Doc. No. 127); (2) Order dismissing the antitrust claim of attempted
7
     regulation of the practice of law in federal court by the California State Bar (Doc. No.
8
     130); (3) Order declining supplemental jurisdiction (Doc. No. 134); and (4) the Order
9
     closing and remanding the case (Doc. No.135) pursuant to Fed. R. Civ. Proc. Rules 60
10
     and the Court’s inherent authority.
11
           II.    Parties Affected by Relief Requested in the Motion:
12
           Defendant State Bar of California
13
14         Defendant Tyler Technologies, Inc.

15         Defendant Rick Rankin
16         III.   Reasons Necessitating the Court Hear the Motion on Shortened
17                Time:
18         On April 2, 2024, Plaintiffs filed a motion seeking relief under Fed. R. Civ. Proc.
19   Rule 60(b). (Doc. 144). The hearing was set for May 2, 2024. However, May 2, 2024, is
20   a Thursday. This Court hears motions on Tuesdays.
21         Because the motion seeks to reopen a case that was closed on May 3, 2023, the
22   plaintiffs must have their motion heard prior to May 3, 2024. Consequently, plaintiffs
23   seek relief to advance the hearing date to April 30, 2024, or anytime before May 3, 2024,
24
     at the convenience of the court.
25
           Local Rule 6-1 provides a motion should be set 28 days prior to the hearing.
26
     However, the Court may hear the matter on shortened time.
27
28
                                                       1
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1           FRCP Rule 6(b)(2) provides that “[a] court must not extend the time to act under
2    Rules 50(b) and (d), 52(b), 59(b), (d), and (e), and 60(b).” Id.
3           The matter cannot be heard at a later because it would be in violation of Fed. R.
4
     Civ. Proc. Rule 6(b)(2). There is no exception just because the defendant is a state
5
     agency attempting to do some tail wagging. “Decency, security and liberty alike demand
6
     that government officials shall be subjected to the same rules of conduct that are
7
     commands to the citizen. In a government of laws, existence of the government will be
8
     imperiled if it fails to observe the law scrupulously.” Miranda v. Arizona (1966) 384
9
     U.S. 436, 479-80.
10
            The matter cannot be heard at a later date without prejudicing the plaintiffs
11
     because Fed. R. Civ. Proc. Rule 60(c) limits relief to within one year from the date of the
12
13   order the party is seeking to have vacated. Consequently, good cause exists to grant this

14   ex parte relief.
15          As such, the Court should advance the hearing on the motion to its April 30, 2024,
16   calendar, or anytime sooner as the Court deems appropriate.
17          There is no prejudice to the defendants because there are 28 days between the date
18   the motion was filed and served and a hearing date of Tuesday April 30, 2024.
19          Since the underlying motion for relief is based on FRCP 60(b), the Court should
20   not grant the Defendants’ ex parte application to extend time on the motion which is
21   being filed simultaneously by them.
22          IV.    CONCLUSION
23
            Wherefore plaintiffs respectfully request that this Court grant this ex parte
24
     application and advance the hearing date on the plaintiffs’ motion for relief under Fed. R.
25
     Civ. Proc. Rule 60 (Doc. 144) to April 30, 2024, or any other time before that date at the
26
     Court’s convenience.
27
     Dated: April 8, 2024                        Respectfully Submitted,
28                                               LAW OFFICES OF LENORE ALBERT
                                                        2
     EX PARTE APPLICATION TO ADVANCE THE 05-02-2024 HEARING DATE
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1                                              /s/ Lenore Albert______________________
2                                              LENORE L. ALBERT, ESQ.
                                               Attorney for Plaintiffs, John Roe 1,John Roe 3,
3                                              Jane Roe 2, Chad Pratt, and NZ on behalf of
4                                              themselves and all others similarly situated. ** In
                                               Federal Court ONLY – Suspended State Bar 03-
5
                                               14-2024 **
6
7          The undersigned, counsel of record for John Roe 1, et al, certifies that this brief
8    contains 1,516 words, which complies with the word limit of L.R. 11-6.1.
9    Dated: April 8, 2024                      Respectfully Submitted,
                                               LAW OFFICES OF LENORE ALBERT
10
                                               /s/ Lenore Albert______________________
11                                             LENORE L. ALBERT, ESQ.
12                                             Attorney for Plaintiffs, John Roe 1,John Roe 3,
                                               Jane Roe 2, Chad Pratt, and NZ on behalf of
13                                             themselves and all others similarly situated. ** In
14                                             Federal Court ONLY – Suspended State Bar 03-
                                               14-2024 **
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1                                          PROOF OF SERVICE
2    STATE OF CALIFORNIA, COUNTY OF ORANGE:
3     I declare that I am over the age of 18 years, and not a party to the within action; that I
     am employed in Orange County, California; my business address is 1968 S Coast Hwy
4
     #3960, Laguna Beach, CA 92651. On April 8, 2024, I served a copy of the following
5    document(s) described as:
6    EX PARTE APPLICATION TO ADVANCE THE 05-02-2024 HEARING DATE
7
8    On the interested parties in this action as follows:
9
     SEE ELECTRONIC SERVICE LIST ATTACHED
10
11   [x] BY E-SERVE and EMAIL – I caused such document(s) to be transmitted to the
     office(s) of the addressee(s) listed above by electronic mail at the e-mail address(es) set
12   forth per CCP 1010.6.
13   [] BY MAIL– I caused such document(s) to be placed in pre-addressed envelope(s)
     with postage thereon fully prepaid and sealed, to be deposited as regular US Mail at
14
     Santa Ana, California, to the aforementioned addressee(s).
15    I declare under penalty of perjury under the laws of the State of California and the
16
     United States of America that the foregoing is true and correct.

17   Dated: April 8, 2024
18                                                         _/s/_Lenore Albert____________________
                                                                        Lenore Albert
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